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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

CHANCE W. HOBROCK,                                   )
                               Plaintiff,            )
                                                     )
v.                                                   )      Case No.:_______________________
                                                     )
THE ESTATE OF GARLAND G. SMITH; and                  )
THE HUB OF SYRACUSE, INC.,                           )
                        Defendants.                  )

                                            COMPLAINT

        COMES NOW the Plaintiff, by and through his attorneys, and for his causes of action

against the Defendants alleges and states as follows:

I. THE PARTIES

     1. This action is a diversity action between a citizen of another state and

        citizens/corporations of the State of Kansas.

     2. Plaintiff is a resident and citizen of the State of Nebraska.

     3. Wanda Smith has been duly appointed as the Administratrix of Defendant The Estate

        of Garland G. Smith, deceased, pursuant to the Orders entered in the Hamilton County,

        Kansas District Court Case Number 2019-PR-11.

     4. Defendant The Estate of Garland G. Smith, deceased, is a resident of the State of

        Kansas and may be served with Summons by serving its Administratrix, Wanda

        Smith, at her residential address, 900 E Francis Avenue, Syracuse, Hamilton County,

        Kansas 68787.

     5. Defendant The Hub of Syracuse, Inc., (hereinafter “The Hub”) is a Kansas for profit

        corporation located at East Highway 50, P.O. Box 638, in Syracuse, Hamilton County,

        Kansas. This Defendant may be properly served with Summons by serving its


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     registered agent, Wanda Smith, at East Highway 50, P.O. Box 638, in Syracuse,

     Hamilton County, Kansas.

  6. At all times material hereto, Garland G. Smith, deceased, was an employee acting

     within the nature, course, and scope of his employment with Defendant The Hub.

  7. Plaintiff brings these claims both individually and, pursuant to the provisions of K.S.A.

     § 44-504, for and on behalf of his former employer and its workers compensation

     insurance carrier as their interests may appear herein.

II. JURISDICTION AND VENUE

  8. Plaintiff adopts and incorporates by reference paragraphs 1 through 7 of his

     Complaint as if fully set forth herein.

  9. The tort which is the subject of this Complaint occurred in Hamilton County, Kansas,

     which is in this United States District.

  10. These proceedings arise under and jurisdiction is founded upon 28 U.S.C. § 1332(a)

     and the laws of the United States of America as there exists complete diversity of

     citizenship between the Plaintiff and all the Defendants and the amount in

     controversy exceeds $75,000.00 exclusive of interest and costs.

  11. As the subject auto collision occurred in the State of Kansas, the Defendants have

     sufficient contacts to subject themselves to the personal jurisdiction of this Court and

     the other courts in the State of Kansas.

  12. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) as a substantial part

     of the events giving rise to the claim occurred in the State of Kansas and in this United

     States District.




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III. FACTS COMMON TO ALL COUNTS

  13. The Plaintiff adopts and incorporates by reference paragraphs 1 through 12 of his

     Complaint as if fully set forth herein.

  14. On Friday, May 24, 2019, around 10:35a.m., Plaintiff was riding as a front seat

     passenger in a white 2012 Chevrolet Silverado pick-up which was pulling a large

     horse trailer. This vehicle was owned by Plaintiff’s then-employer, P5 Ranch, LLC,

     and it was being operated by his co-employee, Payton Chambless.

  15. The vehicle in which Plaintiff was a passenger was heading northbound on County

     Road Y (“CR-Y”) in Hamilton County, Kansas, approximately three (3) miles south of

     the junction of CR-Y with US Highway 50.

  16. In this area, CR-Y is a rural north/south dirt road on which the traveled portion of the

     roadway is approximately twenty-five (25) feet wide with unimproved grassy

     shoulders on each side of the traveled roadway, which are also approximately twenty-

     five (25) feet wide.

  17. At or around the same time, a red 2019 Chevrolet Silverado, owned by Defendant The

     Hub and being negligently operated by Garland G. Smith, deceased, was heading

     southbound on CR-Y in the same immediate area.

  18. Garland G. Smith, deceased, was acting as an employee/agent of Defendant The Hub,

     and Defendant The Hub is vicariously liable for the negligent acts, omissions, and

     commissions of Garland G. Smith, deceased, occurring within the nature, course, and

     scope of his employment with Defendant The Hub.

  19. The overall terrain of CR-Y is relatively flat, but there are several hills, and one hill in

     particular is steep and clearly limits the sight-distance of approaching vehicles.


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20. The subject collision, described more fully below, occurred at the crest of this steep

   hill.

21. As is common on most dirt county roads, the majority of vehicles routinely drive in

   the center of the roadway and then move to the side when meeting an approaching

   vehicle or when cresting a hill.

22. As the vehicle in which Plaintiff was riding approached the hill in question, Payton

   Chambless was driving in the center of the roadway; however, because of the sight-

   distance limitation created by this hill, Mr. Chambless reduced his speed and

   gradually and appropriately moved the vehicle he was piloting to his right.

23. The entirety of the vehicle in which Plaintiff was riding was appropriately on the

   right-hand half of the traveled portion of the roadway immediately prior to this

   collision.

24. Garland G. Smith, deceased, was also operating The Hub vehicle down the center of

   the roadway as it approached this same hill. Unfortunately, Mr. Smith did not steer

   his vehicle to the right as he approached the hill, but rather he continued driving

   down the center of the roadway.

25. There is no evidence that Garland G. Smith, deceased, reduced the speed of The Hub

   vehicle he was operating or otherwise took any evasive action to prevent this collision

   at any time prior to the collision itself.

26. As the sole and exclusive result of the negligence of Garland G. Smith, deceased, these

   two vehicles violently collided almost head-on at the crest of the hill.

27. This collision was investigated by Trooper John Lawson, Jr., of the Kansas Highway

   Patrol, who concluded:


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              “Physical evidence at the scene of the collision indicates that [the Smith
              Vehicle] was traveling down the middle of County Road Y at the time of
              the collision, and not on the right side of the roadway as required, and
              there is no physical evidence which indicates that [the Smith vehicle]
              attempted to move over to the right side of the roadway to avoid a
              collision.”

  28. Payton Chambless did not have sufficient time, distance, or opportunity to avoid the

     vehicle being negligently operated by Garland G. Smith, deceased.

  29. As a consequence of this collision, Plaintiff sustained extensive and severe personal

     bodily injuries, which are permanent and progressive in nature, and other damages

     as more fully set forth below.

COUNT I:      NEGLIGENCE, GROSS NEGLIGENCE, RECKLESS AND WANTON CONDUCT,
              AND VICARIOUS LIABILITY

  30. The Plaintiff adopts and incorporates by reference paragraphs 1 through 29 of his

     Complaint as if fully set forth herein.

  31. The resulting injuries and other damages suffered by Plaintiff as a result of the

     aforementioned collision were the result of the negligence, gross negligence, reckless

     and wanton conduct, and fault of Garland G. Smith, deceased, which includes, but is

     not limited to, the following:

           a. Failure to maintain a proper look-out;

           b. Failure to pay proper attention to the conditions then existing on the roadway;

           c. Failure to yield the right-of-way;

           d. Operating his vehicle at speeds too fast for the conditions then existing on the

              roadway;

           e. Failure to maintain proper control of his vehicle;




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         f. Failure to properly maneuver the vehicle which he was operating to the right

            as he approached the hill upon which this collision occurred;

         g. Failure to operate his vehicle in the appropriate lane of travel; and

         h. Failure to appropriately reduce his speed as he approached the hill upon

            which this collision occurred.

  32. Upon information and belief, Garland G. Smith, deceased, was acting within the course

     and scope of his employment and/or apparent agency with Defendant The Hub so as

     to make Defendant The Hub vicariously liable for his negligent acts, omissions, and

     commissions.

  33. Defendant the Estate of Garland G. Smith, deceased, is liable for the negligent acts,

     omissions, and commissions of Garland G. Smith, deceased.

  34. As a direct and proximate result of the Defendants’ negligence, Plaintiff suffered

     serious personal bodily injuries and other damages, as more fully outlined below,

     which are permanent and progressive in nature.

IV. DAMAGES

  35. Plaintiff adopts and incorporates by reference paragraphs 1 through 34 of his

     Complaint as if fully set forth herein.

  36. Due to the Defendants negligent, wrongful, and unjustified acts, as set forth above,

     they are liable for the Plaintiff’s resultant damages, which include, but are not limited

     to: his serious personal bodily injuries which are permanent and progressive in

     nature; his medical care and treatment to date and the costs associated with such

     treatment, which are in excess of the Kansas Automobile Injury Reparations Act Tort

     threshold; the medical care and treatment he can reasonably expect to incur in the


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       future and the costs associated with that medical care and treatment; his past and

       future pain, suffering, disability, and mental anguish; his permanent disfigurement;

       his loss of time and income to date and into the foreseeable future; and other

       damages, all in an amount in excess of $75,000.00, exclusive of interest and costs.

   37. No act or omission on the part of Plaintiff or Payton Chambless caused or contributed

       to cause Plaintiff’s injuries or resulting damages.

   38. Plaintiff is entitled to judgment against the Defendants in an amount in excess of

       $75,000.00, exclusive of interest and costs.

V. CONCLUSION

       WHEREFORE AND BY REASON OF THE ABOVE AND FOREGOING, Plaintiff prays that

judgment be entered in his favor and against each of the Defendants in an amount in excess

of $75,000.00, exclusive of interest and costs, and for such other further relief as the Court

deems just and equitable.




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                                        Respectfully submitted,



                                        /s/ Thomas B. Diehl
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